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                IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF MICHIGAN

LARRY SMITH,                  )
                              )
              Plaintiff,      )
                              )
     v.                       )                         No. 21-cv-12070-DML-APP
                              )
COUNTY OF WAYNE,              )
ROBERT J. DONALDSON,          )
MONICA CHILDS, GENE KARVONEN, )
ROGER MUELLER, WALTER LOVE,   )
and JOHN DEMBINSKI,           )
                              )
              Defendants.     )

         THE PARTIES’ JOINT SHORT STATEMENT AND
   FEDERAL RULE OF CIVIL PROCEDURE 26(f) DISCOVERY PLAN

        In accordance with the Court’s Notice to Appear for Case Management

Status and Scheduling Conference (ECF No. 22), the parties met and conferred on

February 15, 2022, and submit for the Court’s consideration, the following Joint

Short Statement and Federal Rule of Civil Procedure 26(f) Discovery Plan:

   1.      Short Statement

           A. Summary of the background of the action and the principal
              factual and legal issues
        The background of this action is as follows: In 1994, Larry Smith alleges he

was wrongfully arrested and incarcerated in violation of his constitutional rights

for nearly 27 years for a crime that he did not commit – the fatal shooting of

Kenneth Hayes on March 24, 1994.


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      On March 25, 1994, Larry Smith was arrested and charged with first-degree

murder and possession of a firearm in the commission of a felony for the shooting

of Mr. Hayes. Between his detention and trial beginning on November 22, 1994,

an investigation was conducted by the Detroit Police Department and Wayne

County Prosecutor’s Office. Mr. Smith has alleged in his amended complaint, in

part, that the investigation and prosecution that followed included fabricated

evidence, the use of false testimony from jailhouse informants, and intentional

failure to follow legitimate leads to the real killer, as well as failure to investigate

exculpatory evidence. Mr. Smith was convicted and sentenced to life in prison

without the possibility of parole. He served approximately 27 years of that

sentence.

      In approximately 2004, the informant that had testified to Mr. Smith’s

alleged confession in jail contacted Mr. Smith and admitted that he lied at trial.

The informant also made Mr. Smith aware of multiple cases where informants

such as himself were allegedly used to procure convictions on false testimony of

confessions that never happened. This new information was allegedly bolstered by

several memorandums within the prosecutor’s office detailing this pattern and

practice. Based on this new information, Mr. Smith was eventually successful in

having his conviction vacated and all charges dismissed on February 4, 2021, and

he was released from prison.



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      The principal factual and legal issues in this matter will include: (1) the

extent of each individual Defendant’s participation in obtaining and/or concealing

alleged fabricated testimony regarding Mr. Smith’s confession; (2) the extent of

the alleged custom and policy of exchanging reduced sentences and favors such as

sex, alcohol, and drugs for false testimony by jailhouse informants used to obtain

convictions in difficult cases; and (3) the alleged involvement of the Wayne

County Prosecutor’s Office and Detroit Police Department officers in actively

soliciting fabricated testimony from these informants and concealing that

fabricated testimony from innocent defendants, including Mr. Smith.

         B. Outline of proposed discovery

      Plaintiff intends to seek written discovery including interrogatories,

requests for admissions, and requests for production of documents from each

Defendant. Additionally, Plaintiff will take depositions of each Defendants and

multiple witnesses. Plaintiff estimates between 15 and 20 depositions.

      Defendants intend to seek written discovery including interrogatories,

requests for admissions, and request for production of documents to Plaintiff.

Defendants will take the depositions of Plaintiff, his family, and multiple

witnesses related to the homicide and investigation. Defendants’ estimate 10

depositions.

         C. Description of any outstanding or anticipated discovery disputes,
            and the basis for any objection

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        There are no current discovery disputes and the parties hope to avoid any

such disputes in the prosecution of this action.

           D. Disclosure of insurance available to satisfy part or all of a
              judgment, including indemnification agreements

           For Plaintiff, none.

           Defendants will make insurance information available to Plaintiff and

           will address same in Initial Disclosures.

           E. Proposed management plan, including a schedule setting
              discovery cut-off and trial dates

        Please see Section F of the parties’ Discovery Plan set forth below:

   2.      Discovery Plan (FRCP 26(f)):

           A. The parties agree that no changes are needed to the timing, form, or

              requirement for disclosures under Rule 26(a). Initial disclosures will

              be made on or before March 4, 2022.

           B. The parties have agreed discovery may be needed on the following

              subjects:

              i.     The alleged unlawful detention of, use of fabricated evidence

                     against, and the malicious prosecution of Larry Smith for the

                     murder of Kenneth Hayes;

              ii.    The individual Defendants’ knowledge of Larry Smith;




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             iii.   The Wayne County Prosecutor’s Office and Detroit Police

                    Department’s alleged policy and custom of obtaining false

                    testimony and false statements for use against criminal

                    defendants; and

             iv.    Larry Smith’s injuries and damages.

      The parties agree that non-expert discovery shall be completed by

November 1, 2022, and that discovery shall not be conducted in phases or focused

on particular issues.

          C. The parties agree that there are no issues about disclosure, discovery,

or preservation of electronically stored information, including the form or forms in

which it should be produced. Defendants use a ShareFile program that produces

pdf files, which is acceptable to Plaintiff. Further, all parties agreed to accept

electronic service of discovery materials.

          D. The parties agree that if any issues about claims of privilege or of

protection as trial-preparation materials, such as the need for a protective order

regarding sensitive information on the individual Defendants, the parties will work

together to agree upon a protective order and submit it to the Court. The parties

will timely assert any claims of privilege and provide a privilege log. The parties

will attempt to resolve any disputes regarding privilege claims amongst themselves

and will seek the Court’s assistance if they are unable to resolve the dispute.



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         E. The parties agree on the following limitations on discovery:

             i.     25-Interrogatories shall be the limit, as set forth in Civil L.R.

                    33(a)(1);

             ii.    1 day of 7 hours shall be the limit for depositions, as set forth in

                    Fed. R. Civ. P. 30(d)(1); and

             iii.   The 10 deposition limit set forth in Fed. R. Civ. P.

                    30(a)(2)(A)(i) shall be changed to 20 depositions, due to the

                    number of witnesses and Defendants involved in this case. The

                    parties have agreed that some depositions shall be taken by

                    Zoom when possible.

         F. The parties agree upon and respectfully request that the Court issue

the following orders under Fed. R. Civ. P 26(c) or under Fed. R. Civ. P

16(b) and (c):

             i.     Non-expert discovery cutoff: November 1, 2022;

             ii.    Expert disclosure including report deadline: February 1, 2023;

             iii.   Rebuttal expert deadline: May 1, 2023;

             iv.    Expert discovery deadline: June 1, 2023;

             v.     Dispositive motions deadline: June 1, 2023; and

             vi.    Trial Date: To be determined by the Court.




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Date: February 18, 2022


Respectfully Submitted,

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